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PS 40
Rev. 10/14

UNITED STATES DISTRICT COURT
NOTICE REGARDING UNITED STATES PASSPORT FOR CRIMINAL DEFENDANT

TO: U.S. Department of State

CA/PPT/L/LA
44132 Mercure Circle

P.O. Box 1227
Sterling, VA 20166-1227

Fax (202) 485-6496

E-mail: CA-PPT-CourtOrders@state.gov

¥ Original Notice

Date: 11/9/2021
By: Christine Kaslavage, SUSPO

FROM: U.S. Probation Office
Northern District of West Virginia
217 W. King Street, Rm. 310
Martinsburg, WV 25401

l Notice of
Date: Click here to enter a date
By: Click here to enter text.

Defendant: Toebbe, Jonathan Smay

Date of Birth:
SSN:

Notice of Court Order (Order Date 10/20/2021)

rs The above-named defendant is not permitted to apply for the issuance of a passport during the pendency

of this action.

Case Number: 3:21CR49-001
Place of Birth: New Orleans, LA

! The above-named defendant surrendured Passport Number

Click here to enter text. to the custody of the U.S. District Court on Click here fo enter a date..

Notice of Disposition

The above case has been disposed of.

! The above order of the court is no longer mn effect.
! Defendant not convicted - Document returned to defendant.

Defendant not convicted - Document enclosed for further mvestigation due to evidence that the

document may have been issued m a false name.

! Defendant convicted - Document and copy of judgement enclosed.

Distribution:

Original to case file
Department of State
Defendant (or representative)
Clerk of Court
